Case 3:13-cv-00419-JWD-EWD Document179 01/29/16 Page 1 of 10

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF LOUISIANA

LIZA C. ARIZA Case No. 3:13-cv-00419

JUDGE JOHN W.
deGRAVELLES

MAGISTRATE JUDGE ERIN
WILDER-DOOMES

JURY TRIAL
LOOMIS ARMORED US LLC

JURY VERDICT FORM

FIRST CLAIM - DISCRIMINATION BASED ON ACTUAL
DISABILITY IN VIOLATION OF THE AMERICANS WITH
DISABILITIES ACT

INTERROGATORY Number 1a

Has Plaintiff, Liza C. Ariza, proved that Defendant, Loomis
Armored US LLC, terminated Plaintiff because of her having an
actual disability?

Yes “a

(If you answered “Yes,” proceed to Interrogatory
Number ib. If you answered “No,” then proceed to
Interrogatory Number 2a.)

INTERROGATORY Number 1b
Has Defendant proved that it would have made the same

1 of 11
Case 3:13-cv-00419-JWD-EWD Document179 01/29/16 Page 2 of 10

decision to terminate Plaintiff even if she had not been
disabled?

Yes No

(If you answered “Yes,” proceed to Interrogatory
Number 2a. If you answered “No,” proceed to
Interrogatory Number ic.)

INTERROGATORY Number ic
Has Defendant proved that its policy that caused Plaintiff to
be terminated was justified by a business necessity?

Yes No

(If you answered “Yes,” proceed to Interrogatory
Number 2a. If you answered “No,” proceed to
Interrogatory Number 1d.)

INTERROGATORY Number 1d

Has Defendant proved that Plaintiff’s continued employment
would have posed a direct threat to Plaintiff or others in the
workplace?

Yes No
(If you answered “Yes,” proceed to Interrogatory

Number 2a. If you answered “No,” proceed to
Interrogatory Number 1e.)

INTERROGATORY Number le
Has Defendant proved that Plaintiff’s disability was a minor
condition?

Z0f 11
Case 3:13-cv-00419-JWD-EWD Document179 01/29/16 Page 3 of 10

Yes No

(Regardless of whether you answered “Yes” or “No” to
Interrogatory Number 1e, proceed to Interrogatory
Number 2a.)

SECOND CLAIM - DISCRIMINATION BASED ON RECORD OF
BEING OR BEING REGARDED AS DISABLED IN VIOLATION
OF THE AMERICANS WITH DISABILITIES ACT
INTERROGATORY Number 2a

Did Plaintiff, Liza C. Ariza, have a record of an epileptic or seizure
disorder or was she regarded as having a history such a disability
by Defendant?

Yes Va No

(If you answered “Yes,” proceed to Interrogatory Number
2b. If you answered “No,” then proceed to Interrogatory
Number 3a.)

INTERROGATORY Number 2b
Has Defendant proved that it would have made the same decision
to terminate Plaintiff even if it had not considered her disabled?

Yes No
(If you answered “Yes,” proceed to Interrogatory

Number 3a. If you answered “No,” proceed to
Interrogatory Number 2c.)

3 of 11
Case 3:13-cv-00419-JWD-EWD Document179 01/29/16 Page 4 of 10

INTERROGATORY Number 2c
Has Defendant proved that its policy that caused Plaintiff to
be terminated was justified by a business necessity?

Yes No

(If you answered “Yes,” proceed to Interrogatory
Number 3a. If you answered “No,” proceed to
Interrogatory Number 2d.)

INTERROGATORY Number 2d

Has Defendant proved that Plaintiff’s continued employment
would have posed a direct threat to Plaintiff or others in the
workplace?

Yes No
(If you answered “Yes,” proceed to Interrogatory

Number 3a. If you answered “No,” proceed to
Interrogatory Number 2e.)

INTERROGATORY Number 2e
Has Defendant proved that the impairment Plaintiff was regarded
as having was minor and would last six months or less?

Yes No
(Regardless of whether you answered “Yes” or “No” to

Interrogatory Number 2e, proceed to Interrogatory
Number 3a.)

4 of 11
Case 3:13-cv-00419-JWD-EWD Document179 01/29/16 Page 5 of 10

THIRD CLAIM - FAILURE TO ACCOMMODATE DISABILITY
IN VIOLATION OF THE AMERICANS WITH DISABILITIES
ACT

INTERROGATORY Number 3a

Did Defendant fail to reasonably accommodate Plaintiff’s

disability? ra

Yes No

(If you answered “Yes,” proceed to Interrogatory
Number 3b. If you answered “No,” proceed to
Interrogatory Number 4a.)

INTERROGATORY Number 3b
Has Defendant proved that it would have been an undue hardship
for it to accommodate Plaintiff’s alleged disability?

Yes No

(If you answered “Yes,” proceed to Interrogatory
Number 4a. If you answered “No,” proceed to
Interrogatory Number 3c.)

INTERROGATORY Number 3c

Has Defendant proved that it would have made the same decision
to terminate Plaintiff even if Plaintiff had not been disabled or
even if it had not considered her disabled?

Yes No
(If you answered “Yes,” proceed to Interrogatory

Number 4a. If you answered “No,” proceed to
Interrogatory No. 3d.)

5 of 11
Case 3:13-cv-00419-JWD-EWD Document179 01/29/16 Page 6 of 10

INTERROGATORY Number 3d
Has Defendant proved that its policy that caused Plaintiff to be
terminated was justified by a business necessity?

Yes No

(If you answered “Yes,” proceed to Interrogatory
Number 4a. If you answered “No,” proceed to
Interrogatory Number 3e.)

INTERROGATORY Number 3e

Has Defendant proved that Plaintiff’s continued employment
would have posed a direct threat to Plaintiff or others in the
workplace?

Yes No

(Regardless of whether you answered “Yes” or “No” to
Interrogatory Number 3e, proceed to Interrogatory
Number 4a.)

FOURTH CLAIM - VIOLATION OF FAMILY AND MEDICAL
LEAVE ACT

INTERROGATORY Number 4a:

Did Defendant fail or refuse to restore Plaintiff to her same or an
equivalent job on ee from FMLA leave?

Yes No

(If you answered “No” to Interrogatory Numbers 1a,
2a, 3a, and 4a, then STOP, sign and date the Jury
Verdict Form, and alert the CSO.

If you answered “Yes” to Interrogatory Number 4a,

6 of 11
Case 3:13-cv-00419-JWD-EWD Document179 01/29/16 Page 7 of 10

proceed to Interrogatory Number 4b.)

INTERROGATORY Number 4b:

Has Defendant proven that Plaintiff's previous position or its
equivalent was no longer available to Plaintiff due to reasons
unrelated to her decision to take a period of medical leave?

Yes No
(Proceed to Interrogatory Number 5 only if you
answered the earlier questions in the following way:

(i) “Yes” to Interrogatory Number 4a and “No” to
Interrogatory Number 4b; or

(ii) “Yes” to Interrogatory Number 1a and “No” to
Interrogatory Numbers 1b, 1c, 1d, and 1e; or

(iii) “Yes” to Interrogatory Number 2a and “No” to
Interrogatory Numbers 2b, 2c, 2d, and 2e; or

(iv) “Yes” to Interrogatory Number 3a and “No” to
Interrogatory Numbers 3b, 3c, 3d, and 3e.

Otherwise, STOP, sign and date the Jury Verdict Form,
and alert the CSO.)

COMPENSATORY DAMAGES UNDER THE AMERICANS WITH
DISABILITIES ACT AND/OR FAMILY AND MEDICAL LEAVE

INTERROGATORY Number 5:
Do you find that the Plaintiff, Liza C. Ariza, suffered any
compensatory damages?

7 of 11
Case 3:13-cv-00419-JWD-EWD Document179 01/29/16 Page 8 of 10

Yes No

(If you marked “Yes,” please proceed to Interrogatory
Number 6. If you answered “No,” then STOP, sign and
date the Jury Verdict Form, and alert the CSO.)

INTERROGATORY Number 6

What amount will compensate Plaintiff, Liza C. Ariza, for the
damages, if any, she suffered as a result of the Defendant’s
violation of the Americans with Disabilities Act and/or the Family
and Medical Leave Act?

Answer in dollars and cents for the following items and none
other:

1. Past pain and suffering, inconvenience, mental
anguish, and enjoyment of life.

AMOUNT $

Zi Future pain and suffering, inconvenience, mental
anguish, and loss of enjoyment of life.

AMOUNT $

DB. Wages and benefits from date of adverse action
through present date:

AMOUNT $

(If you awarded damages above, proceed to Interrogatory
Number 7.)

8 of 11
Case 3:13-cv-00419-JWD-EWD Document179 01/29/16 Page 9 of 10

INTERROGATORY Number 7

Do you find that Plaintiff failed to reduce her damages through
the exercise of reasonable diligence in seeking, obtaining, and
maintaining substantially equivalent employment after the date
of her termination?

Yes No

(If you marked “Yes,” please proceed to Interrogatory
Number 8. If you answered “No” to Interrogatory
Number 7 and “Yes” to Interrogatory Number 1a, 2a,
or 3a, then proceed to Interrogatory Number 9.)

INTERROGATORY Number 8
How much would Plaintiff have earned had she exercised
reasonable diligence under the circumstances to minimize her

damages?
AMOUNT $

(If you answered “Yes” to Interrogatory Number 1a, 2a, or
3a, proceed to Interrogatory Number 9.

If you answered “No” to Interrogatory Numbers 1a, 2a,
and 3a, STOP, sign and date the Jury Verdict Form,
and alert the CSO.)

PUNITIVE DAMAGES UNDER THE AMERICANS WITH
DISABILITIES ACT

INTERROGATORY Number 9
If you found that Plaintiff, Liza C. Ariza, suffered a violation of the

Americans with Disabilities Act, do you find that the individual
who discriminated against Plaintiff was acting in a managerial
capacity, did so while acting in the scope of his or her

9 of 11
Case 3:13-cv-00419-JWD-EWD Document179 01/29/16 Page 10 of 10

employment with Defendant, and acted with malice or with
reckless indifference to her rights, thereby entitling Plaintiff to
punitive damages?

Yes No

(If you marked “Yes” in answering Interrogatory
Number 10, please proceed to Interrogatory Number
8. If you marked “No”, please STOP, sign and date
the form below, and alert the CSO.)

INTERROGATORY Number 10
If you answered “Yes” to Interrogatory Number 9, write the

amount of punitive damages you feel fair under the
circumstances.

AMOUNT $

(Please sign the verdict form and hand it in.)

Signatures of Jury Members with Date:
